                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER



 UNITED STATES OF AMERICA                              )
                                                       )         Case No. 4:08-cr-14
 vs.                                                   )
                                                       )         JUDGE MATTICE
 JAMES MOON                                            )         MAGISTRATE JUDGE LEE
                                                       )



                              REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 9, 2009. At

 the hearing, defendant moved to withdraw his not guilty plea to Count One of the ten-count

 Superseding Indictment and entered a plea of guilty to Count One of the Superseding Indictment in

 exchange for the undertakings made by the government in the written plea agreement. On the basis

 of the record made at the hearing, I find the defendant is fully capable and competent to enter an

 informed plea; the plea is made knowingly and with full understanding of each of the rights waived

 by defendant; the plea is made voluntarily and free from any force, threats, or promises, apart from

 the promises in the plea agreement; the defendant understands the nature of the charge and penalties

 provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to Count One of the Superseding Indictment be accepted, the

 Court adjudicate defendant guilty of the charges set forth in Count One of the Superseding




Case 4:08-cr-00014-HSM-SKL            Document 243         Filed 04/13/09     Page 1 of 2     PageID
                                            #: 605
 Indictment, and a decision on whether to accept the plea agreement be deferred until sentencing.

 I further RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance

 of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.



                                                 s/Susan K. Lee
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




Case 4:08-cr-00014-HSM-SKL             Document 243         Filed 04/13/09      Page 2 of 2       PageID
                                             #: 606
